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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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LAWRENCE BARRETT and SHELISE COLON,
                                                                            INDEX NO.: 17-CV-6160
                                                           Plaintiffs,      (DGL)

                              -against-

THE CITY OF ROCHESTER, a municipal entity, POLICE
OFFICER WILLIAM BAKER, IBM # 1940 POLICE
OFFICER JASON P. KELLY, IBM # 1944, POLICE
OFFICER ORLANDO HERNANDEZ, IBM # 1010,
POLICE OFFICER BRADDON ELLIOTT, SERGEANT
MANDI E. WHEELER, and POLICE OFFICERS “JOHN
DOES 1-10” (names and number of whom are unknown at
present), and other unidentified members of the Rochester
Police Department,

                                                        Defendants.

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                                          ENTRY OF DEFAULT

        It appearing that Defendant(s)

THE CITY OF ROCHESTER, a municipal entity, POLICE OFFICER WILLIAM BAKER,
IBM # 1940 POLICE OFFICER JASON P. KELLY, IBM # 1944, POLICE OFFICER
ORLANDO HERNANDEZ, IBM # 1010, POLICE OFFICER BRADDON ELLIOTT,
SERGEANT MANDI E. WHEELER, and POLICE OFFICERS “JOHN DOES 1-10”
(names and number of whom are unknown at present), and other unidentified members
of the Rochester Police Department, ,

are in Default for failure to appear or otherwise defend as required by law, Default is
hereby entered as against said defendants on this day of April 23, 2018.

                                                                     Mary C. Loewenguth
                                                                        Clerk of Court
                                                                  United States District Court

                                                              By: _______________________
                                                                          Deputy Clerk
